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                            IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF MISSISSIPPI


IN RE:                                                                       CHAPTER 13 CASE NO:
MARION COLLINS                                                                         23-12578-JDW
31 AMBER CIRCLE
BYHALIA, MS 38611




                                         NOTICE TO DEBTOR


        NOTICE is hereby given that your plan payment will change from $1,180.50 monthly to
$1,313.50 monthly effective in 11/2023. The previous plan payment of $1,180.50 monthly will be
due for 10/2023.

         The reason for the changes in your plan payment is:

      ____   Due to a change in your monthly mortgage payment.
       xx
      ____   Due to a claim being filed for a different amount than scheduled.

      ____   Due to entry of an order.

      ____   Other: _________________________________________________________________

           If you are paying by automatic draft, please be sure there are sufficient funds in your
account to satisfy the new payment.

          If you are paying via TFS, it is your responsibility to update the payment amount via the
TFS website.

           If you are paying direct, please be aware that the Trustee does not accept personal
checks. You can remit payments online through https://tfsbillpay.com or mail guaranteed funds, in
the form of a cashier’s check or money order with your case number & last name in the description
line, to:

      Locke D. Barkley, Chapter 13 Trustee
      P.O. Box 1859
      Memphis, TN 38101
Should you have any questions concerning this, please contact your attorney.

Date: October 6, 2023
                                                               Sincerely,

                                                               /s/Locke D. Barkley
                                                               Chapter 13 Trustee


CC:       JONES & SCHNELLER
          PO BOX 417
          HOLLY SPRINGS, MS 38635-0417
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                                  CERTIFICATE OF SERVICE

         I do hereby certify that I electronically filed the foregoing with the Clerk of Court using
the CM/ECF system, and I hereby certify that I either mailed by United States Postal Service,
first class, postage prepaid, or electronically notified through the CM/ECF system, a copy of the
above and foregoing to the Debtor, attorney for the Debtor, the United States Trustee, and other
parties in interest, if any, as identified below.


Date: October 6, 2023

                                                     /s/ Locke D. Barkley
                                                     LOCKE D. BARKLEY
                                                     CHAPTER 13 TRUSTEE
